Case 2:06-cr-00071-MHT-SMD Document 393 Filed 04/29/20 Page 1 of 2
      Fel          he /12/d
       ,OF


                             Ali&              CaY:
                                                                     ---7"97frr-
                                              ECEIVED
                             2 ni er/
                           6/.                                    cf6c#z 7/
                                           1010 HAR 30 A 8: 50
                                                  NACKL TT. CLK
                                                      COURT



                       ‘2 ,4>_ch_titrz.61 7



                                   / 7
                                   1 '
                                           )
                                     1;1 L?2

              4/
               1_1                               a
AfE ehcAd/e                        /Ca,/
                     eiter.Azi                  ?aw/ikci_h
                                     cs:z
                                              Z.v,e,              //cf
                       e'CdCawkisj
         jz)
                 im!4(.3
                                                       a71 ta./7
      /e/r?
4&,ei2 16___A/
             dc
            ior./24g     /-
 e                   _/?_(6"
                              7h     al:04Cie_ a/net
Case 2:06-cr-00071-MHT-SMD Document 393 Filed 04/29/20 Page 2 of 2



          6erh (cafe
                                  frt/i 71:f         .   7Z"

                           4.o/                AY/ /
         e,
                      e           /_/-svfi 117a,/
